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Attorneys for Brian Frazier and B. Frazier Management, Inc.

                 IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION
______________________________________
                                       §
IN RE:                                 §
                                       §   Case No. 21-41517-elm11
ANSON FINANCIAL, INC.                  §
                                       §
            Debtor.                    §
______________________________________ §
                                       §
B. FRAZIER ASSET MANAGEMENT, INC. §
F/K/A FRAZIER ASSET MANAGEMENT, §          Adv. No. 21-04071
INC., AND BRIAN H. FRAZIER             §
INDIVIDUALLY                           §
                                       §   Removed From:
            Plaintiffs                 §   Cause No. 342-288776-16;
                                       §   342nd Judicial District Court
v.                                     §   Tarrant County, Texas
                                       §
ANSON FINANCIAL, INC.                  §
                                       §   Docket Call Date: April 4, 2022
            Defendant.                 §   Docket Call Time: 1:30P.M
______________________________________ §

 B. FRAZIER MANAGEMENT, INC. AND BRIAN FRAZIER’S RESPONSE TO
     DEFENDANT’S MOTION TO DISQUALIFY PLAINTIFFS’ COUNSEL
                        CALEB MOORE


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        COMES NOW B. Frazier Management, Inc. and Brian Frazier (hereinafter

“Plaintiffs/claimants”), Plaintiffs/claimants in the above-referenced case and files this, its

Response to Defendant’s Motion to Disqualify Plaintiffs’ Counsel Caleb Moore (herein “the

Objection”).

                                   I. SUMMARY OF THE RESPONSE

        Trial Counsel Caleb Moore has been on this case since it was filed nearly 6 years ago. Two

previous motions to disqualify Caleb Moore were heard by two different state court judges and

were denied. No mandamus or appellate review was sought. Defendants have known that Mr.

Moore has continued to represent Plaintiff in this bankruptcy and did not file a motion to disqualify

him. Any basis to disqualify Mr. Moore that could have conceivably existed has been litigated

and denied or waived by Defendant’s inaction. Now on the eve of trial, as a tactic, they again file

a third motion to disqualify. Mr. Moore has been on emails as issues were negotiated, attended at

least one hearing with Ms. Vargas and has been working with her throughout this bankruptcy. It

would severely disadvantage Plaintiffs to have him removed and would also require the removal

of Ms. Vargas as Mr. Moore has shared his entire litigation file with her in getting ready for trial.

She has all information Mr. Moore has. She simply hasn’t lived and absorbed 6 years of litigation.

        There is not time to go get the hearing transcripts, but at the state court hearings, Mr.

Ferguson was unable to identify any litigation strategies, confidential information, or any other

information that Ghrist could have had and passed to Mr. Moore that even existed. He could not

identify any advantage Mr. Moore obtained or was even possible to obtain that would warrant

disqualification. With regard to the bank records, those are simply bank records obtained in

discovery and shared as expressly allowed by the doctrine of shared discovery with Texas Supreme

Court cases cited below. Their use was not restricted in any way and Defendants never sought

confidentiality or restriction. The motion has no legal basis and should be denied.


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                              II.    Disqualification Standard/Waiver

        “A party who fails to file its motion to disqualify opposing counsel in a timely manner

waives the complaint.” Vaughan v. Walther, 875 S.W.2d 690 (Tex. 1994); See also, In re George,

28 S.W.3d 511, 513 (Tex. 2000).

        As movant, a party who files a motion to disqualify opposing counsel bears the burden of

 proving that disqualification is proper. See Duncan v. Merrill Lynch, Pierce, Fenner & Smith,

 Inc., 646 F.2d 1020, 1028 (5th Cir. Unit B), cert. denied, 454 U.S. 895 (1981). The party who

 files the motion to disqualify must prove actual prejudice. See In re Meador, 968 S.W.2d 346,

 350 (Tex 1998); Ayres, 790 S.W.2d at 558; In re Bahn, 13 S.W.3d 865, 873 (Tex. App.—Fort

 Worth 2000, orig. proceeding). (emphasis added)

        The Texas Rules of Disciplinary Conduct are merely disciplinary rules and not procedural

 standards, they nonetheless “provide guidelines and suggest the relevant considerations.”

 National Med. Enters. v. Godbey, 924 S.W.2d 123, 132 (Tex. 1996). However, while the burden

 requires only a preponderance of the evidence, the moving party must prove

 “the necessity for disqualification with specificity.” In re Taylor, 67 S.W.2d 530, 533 (Tex.

 App.—Waco 2002, orig. proceeding). Mere allegations of unethical conduct or evidence showing

 a remote possibility of a violation of the disciplinary rules will not satisfy the burden of proof

 necessary to disqualify opposing counsel. See Spears, 797 S.W.2d at 656; In re Southwestern Bell

 Yellow Pages, Inc., 141 S.W.3d 229, 231 (Tex. App.—San Antonio 2004, orig. proceeding); In

 re Chonody, 49 S.W.3d 376, 379 (Tex. App.—Fort Worth 2000, orig. proceeding); see also In re

 Moore, 153 S.W.3d 527, 534 (Tex. App.—Tyler 2004, orig. proceeding) (“Mere allegations of

 unethical conduct are not evidence.”).

        Because disqualification is a severe remedy, “courts must adhere to an exacting standard

 when considering motions to disqualify so as to discourage their use as a dilatory trial tactic.”


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 Spears, 797 S.W.2d at 656. See American Airlines, Inc., 972 F.2d at 611; see also FDIC, 50 F.3d

 at 1315 (observing that a motion for disqualification “should be viewed with caution ... for it can

 be misused as a technique of harassment”).

                                            III. Argument

 Waiver of Right

        If necessary, Mr. Moore is willing to testify regarding the absence of any information being

obtained from Mr. Ghrist involving his time working for Anson that had anything to do with the

current dispute with FAM. Exhibits 1 and 2 are true and correct trial court orders denying

disqualification of Mr. Moore. Caleb Moore is aware of no “confidential information” obtained

from Ian Ghrist related or even close to related to the dispute between Anson and Frazier. There

is nothing substantively new in this motion. Defendant chose not to appeal or mandamus either

trial court decision. Defendants have known for approximately 6 years that Caleb Moore/LFCM

represented Ian Ghrist in a separate claim while at the same time representing Brian Frazier and

B. Frazier Management Inc and the first action Defendant took was 18 months into the litigation.

They raised the issue again on the eve of one of the state court trials and was denied again and did

not appeal.

 Bank Records

        The 18,000 pages of bank records mentioned were obtained through a subpoena by Mr.

Ghrist. Attached as Exhibit 3 is the trial order denying the motion to quash filed by Defendants.

Defendant did not appeal or otherwise seek to restrict the use of the records or seek confidentiality.

The bank records are not confidential information. They are validly obtained discovery materials

that can be freely shared and used as Mr. Ghrist sees fit. Including sharing them with any litigant

or potential litigant. They were obtained long after Ghrist worked for Anson. The “doctrine of

shared discovery” as stated by the Texas Supreme Court provides that the fruits of discovery are


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available not only to the parties in a particular case but may be disseminated in turn to other

litigants and potential litigants. Eli Lilly & Co. v. Marshall, 850 S.W.2d 155, 160 (Tex. 1993),

subsequent mandamus proceeding, 850 S.W.2d 164 (Tex. 1993). Parties subject to a number of

suits concerning the same subject matter are forced to be consistent in their responses by the

knowledge that their opponents can compare those responses. Garcia v. Peeples, 734 S.W.2d 343,

347 (Tex. 1987). This is no basis for disqualification.

           ALLEGED WORK BY GHRIST OR DISCUSSION WITH FRAZIER

        Mr. Ghrist testified at state court hearings, Mr. Moore testified, Mr. Ferguson testified and

two times that state court judges hearing all of that testimony denied motion to disqualify two

times and two times no review of any claimed error was sought by the Defendants.

Communications between Frazier and Ghrist, if any even existed or happened, would be fair game

for anyone to discuss and would not involve any privilege or basis for disqualification. There is

simply no “confidential information” identified by Defendant that existed that could have been

seen by Ghrist and shared with Mr. Moore to create a litigation advantage.

        WHEREFORE, B Frazier Asset Management and Brian Frazier request that this Court

deny Defendant’s Motion to Disqualify Plaintiff’s Counsel Caleb Moore.

Executed: April 1, 2022

                                                Respectfully submitted,

                                                LAW FIRM OF CALEB MOORE, PLLC
                                                2205 Martin Drive, Suite 200
                                                Bedford, TX 76021
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                                                Facsimile: (817) 581-2540
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                                                By: /s/ Caleb Moore
                                                Caleb I. Moore
                                                cmoore@thedfwlawfirm.com
                                                Texas Bar No. 24067779
                                                        ~ and ~

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                                                /s/Lyndel Anne Vargas
                                                Lyndel Anne Vargas
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                                                Fax: (214) 573-7399
                                                Email: LVargas@chfirm.com

                                                ATTORNEYS FOR PLAINTIFFS




                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the forgoing document was
served on April 01, 2022 by electronic transmission through the Court’s automated Case
Management and Electronic Docketing System for the U. S. Bankruptcy Court for the Northern
District of Texas, Fort Worth Division, on all parties-in-interest submitting to service of papers in
this case by said means.


                                                /s/ Lyndel Anne Vargas___________
                                                Lyndel Anne Vargas




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 From:            Victoria G. Olivo
 To:              "tom@taheraldpc.com"; "legal@fnalegal.com"; "ian@ghristlaw.com"
 Subject:         141-311209-19 Order on Defendants" Motion to Compel Related to Transfer
 Date:            Wednesday, May 27, 2020 12:57:00 PM
 Attachments:     311209 Order on Defns" Mtn to Compel.pdf
                  image001.png




 Good Afternoon,

 Please see the attached order signed by the court and call or email with any questions.

 Thank you,


 Victoria Olivo
 141st Associate Clerk
 100 N. Calhoun St
 Fort Worth, Texas 76196
 817-884-1198
 vgolivo@tarrantcounty.com




                                                                                              EXHIBIT 3
                                                                                             Page 3 of 3
